2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 1 of 11   Pg ID 332
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 2 of 11   Pg ID 333
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 3 of 11   Pg ID 334
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 4 of 11   Pg ID 335
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 5 of 11   Pg ID 336
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 6 of 11   Pg ID 337
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 7 of 11   Pg ID 338
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 8 of 11   Pg ID 339
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 9 of 11   Pg ID 340
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 10 of 11   Pg ID 341
2:18-cv-10005-GCS-DRG   Doc # 15   Filed 04/02/18   Pg 11 of 11   Pg ID 342
